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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                             §                CHAPTER 11
                                                    §
 NATIONAL RIFLE ASSOCIATION                         §                CASE NO. 21-30085-hdh11
 OF AMERICA and SEA GIRT LLC                        §
                                                    §
           DEBTORS1                                 §                JOINTLY ADMINISTERED


                    ORDER GRANTING APPLICATION FOR ORDER
                 AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                     NELIGAN LLP AS COUNSEL TO THE DEBTOR

           Upon the consideration of the Application under §327(a) of the Bankruptcy Code for an

 Order Authorizing the Retention and Employment of Neligan LLP (“Neligan” or the “Firm”) as

 Counsel to the Debtors2 (the “Application”) filed by the National Rifle Association of America

 and Sea Girt LLC (the “Debtors”), together with the Neligan Declaration and Frazer Declaration,



 1
   The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
 Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
 2
   Capitalized terms not otherwise defined herein shall have the meaning assigned to them in the Application.


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 the Court finds that (i) it has jurisdiction over the matters raised in the Application pursuant to 28

 U.S.C. § 1334(b); that (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b) for which it is

 proper for this Court to enter final orders; (iii) Neligan represents no interest adverse to the

 Debtors’ estates that would disqualify Neligan from representation of the Debtors in these Chapter

 11 cases; (iv) Neligan and each of its attorneys and employees is a “disinterested person” as such

 term is defined in § 1107(b) of the Bankruptcy Code, and as required by § 327(a) of the Bankruptcy

 Code; (v) the retention of Neligan as counsel for the Debtors is in the best interest of the Debtors

 and their estates, creditors and other parties-in-interest; (vi) proper and adequate notice of the

 Application and the hearing thereon has been given and no other of further notice is necessary;

 and (vii) good and sufficient cause exists for the granting of the relief requested in the Application

 after having given due deliberation upon the Application, the Neligan Declaration, the Frazer

 Declaration, and all of the proceedings had before the Court in connection therewith. Therefore,

 it is ORDERED, ADJUDGED AND DECREED:

           1.   The Application is GRANTED to the extent provided herein.

           2.   The Debtors are authorized to retain and employ Neligan as their counsel in these

 Chapter 11 cases effective as of the Petition Date pursuant to Local Bankruptcy Rule 2014-1(a).

           3.   Neligan shall be compensated in accordance with the procedures set forth in the

 Application, the applicable provisions of the Bankruptcy Code, the Federal Rules of Bankruptcy

 Procedures, and Local Rules, and such procedures as may be fixed by order of the Court.

           4.   The Debtors and their counsel are authorized and empowered to take all actions

 necessary to implement the relief granted in this Order.




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            5.   The Court shall retain jurisdiction to hear and consider all disputes arising out of

 the interpretation or implementation of this Order.

                                   # # # END OF ORDER # # #

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